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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 12-62333-Civ-SCOLA

  JACQUELINE ZENON,

         Plaintiff,
  vs.

  COLLECTION RESULTS, INC.,

        Defendant.
  _____________________________________/
                ORDER CLOSING CASE UPON NOTICE OF SETTLEMENT
         THIS MATTER is before the Court upon the notification of settlement (ECF No. 20),
  filed by the Mediator. The parties have settled this matter, and it will be administratively closed
  pending the filing of a stipulation of final dismissal, pursuant to Federal Rule of Civil Procedure
  41(a)(1)(A)(ii), or the Plaintiff moving for dismissal pursuant to Rule 41(a)(2). A stipulation of
  final dismissal, or a motion for dismissal, shall be filed by July 31, 2013. If the parties file a
  stipulation of final dismissal pursuant to Rule 41(a)(1)(A)(ii) and wish to have this Court retain
  jurisdiction to enforce their settlement, the parties must include the following sentence in their
  stipulation of dismissal: “The effectiveness of this stipulation of dismissal is conditioned upon
  the Court’s entry of an order retaining jurisdiction to enforce the terms of the settlement
  agreement reached in this case.”      This sentence is required because a joint stipulation of
  dismissal is otherwise self-executing and deprives the Court of jurisdiction to do anything
  further. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1280 (11th Cir. 2012).
         The Clerk shall CLOSE this case. Any party may move to re-open the case if there is a
  problem in reaching a final settlement agreement. Any pending motions are DENIED as moot.

         DONE and ORDERED in chambers, at Miami, Florida on July 9, 2013.

                                                       ________________________________
                                                       ROBERT N. SCOLA, JR.
                                                       UNITED STATES DISTRICT JUDGE
